                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

LABORATORY CORPORATION OF                      )
AMERICA HOLDINGS,                              )
                                               )
                        Plaintiff,             )
                                               )          1:14cv1029
              v.                               )
                                               )
WILLIAM G. KEARNS,                             )
                                               )
                        Defendant.             )

                                 MEMORANDUM OPINION
                        AND ORDER OF PRELIMINARY INJUNCTION

THOMAS D. SCHROEDER, District Judge.

        Before   the      court   is    the    motion   of   Plaintiff    Laboratory

Corporation        (“LabCorp”)         to   preliminarily       enjoin   its    former

employee, Defendant William G. Kearns, Ph.D., from competing with

it in alleged violation of his contract of employment.                     (Docs. 3,

17.)     The parties have submitted an evidentiary record, and the

court held a hearing on the motion on January 12, 2015.                        For the

reasons set forth herein, LabCorp’s motion will be granted in part

and denied in part.

I.      BACKGROUND

        A.   Factual Background

        Pursuant to Rule 65(d)(1)(A) of the Federal Rules of Civil

Procedure, the court finds the following facts for purposes of the

present motion.

        Kearns     is    an   associate       professor    in   the    Department   of




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Obstetrics and Gynecology at the Johns Hopkins School of Medicine

in Baltimore, Maryland.         (Doc. 22-1 (Kearns Decl.) ¶ 1.)                 In 2002,

he   and    other    partners        formed       the    Shady     Grove     Center    for

Preimplantation       Genetics,       LLC     (“Shady      Grove     Center”    or    “the

Center”).       (Id. ¶ 5.)    Kearns owned approximately seven percent of

the business and served as the Center’s director.                      (Id.)

      Around a year after forming the company, Kearns met Richard

Leach, Ph.D.       (Id. ¶ 6.)        The two began collaborating on a method

to increase the likelihood of successful pregnancies for women

undergoing in vitro fertilization.                 (Id. ¶¶ 7–11.)           By 2006, the

two men believed they had developed a patentable process for

achieving this goal, so they set out that process in a provisional

patent     application       filed    with       the    United     States    Patent   and

Trademark Office on or about September 26, 2006.                      (Id. ¶ 11.)      The

process aimed to improve preimplantation genetic diagnosis (“PGD”)

by a method of testing the cells of newly formed embryos for

genetic abnormalities.         (Id. ¶¶ 12–14.)            To this day, Kearns still

uses this process, generally referred to as “microarray” testing,

though     he    sometimes     uses     another          equally    effective     method

generally known as “next generation sequencing.”                      (Id. ¶¶ 15–16.)

      In 2007, LabCorp approached the Shady Grove Center about

acquiring the company.          (Id. ¶ 18.)             LabCorp provides a suite of

reproductive services, including PGD testing.                        (Doc. 5 (Schmalz

Decl.) ¶¶ 3–6.)      Like the Shady Grove Center, LabCorp provides PGD

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services       to    fertility     clinics.      (Id.   ¶¶   5–6.)    LabCorp   was

interested in acquiring the Shady Grove Center, in part, to acquire

its goodwill and customer relationships.                (Id. ¶ 12.)

        In negotiations to purchase the Center, LabCorp indicated

that it would only be interested in the acquisition if Kearns

stayed on as director.             (Kearns Decl. ¶ 19.)        LabCorp sought to

have     Kearns       sign    an    employment    contract     with   restrictive

covenants.          (Id.)   Initially, Kearns refused because the covenants

would have prohibited him from continuing to pursue his patent.

(Id.)        Ultimately, the parties negotiated around this obstacle.

Consequently, in July 2007, LabCorp entered into an agreement (the

“Purchase Agreement”) to buy substantially all of the assets of

the Shady Grove Center. 1           (Id. ¶ 22; Schmalz Decl. ¶ 11; Doc. 22-

1 Ex. 1B.)

        Also in July 2007, and effective as of the Purchase Agreement,

Labcorp and Kearns executed an Employment Agreement (“Employment

Agreement”), which retained Kearns as Director, Pre-Implantation

Genetics Services of LabCorp at an annual salary of $150,000.00.

(Doc. 5-1 ¶ 1.)         Relevant here, the Employment Agreement contained

the following covenants:

        9.     Restrictive Covenants.

         (a) . . . during the term of this Contract and for a period
             of one (1) year following the termination or expiration

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  LabCorp paid $3.2 million for the Center, of which Kearns had a 7%
interest. (Schmalz Decl. ¶ 11.)

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      of this Contract, Employee will not, without the prior
      written consent of the Corporation:

      (i)    directly or indirectly through a subordinate,
             co-worker, peer, or any other person or entity
             contact, solicit or communicate with a
             customer or potential customer of Corporation
             or its subsidiary or affiliated companies
             with whom Employee has had contact while
             employed at Corporation or its subsidiary and
             affiliated companies for the purpose of (x)
             offering, selling, licensing or providing the
             same   or   substantially   similar    assays,
             commercial medical testing or anatomical
             pathology services offered and/or provided to
             such customer or potential customer by the
             Corporation or its subsidiary and affiliated
             companies or (y) influencing said customer’s
             or potential customer’s decision on whether
             to purchase or use such assays, commercial
             medical testing or anatomical pathology
             services offered by the Corporation or its
             subsidiary and affiliated companies . . . .

                                    *   *   *

      (iii) directly or indirectly own, invest in,
            consult for, be employed by or otherwise
            engaged by any person, trade or business
            either (x) involved in the research and
            development,      licensing,      production,
            distribution, or sale of preimplantation
            genetic diagnosis and testing that directly
            competes with the Corporation or any of its
            subsidiary and affiliated companies in the
            same geographic markets serviced by them or
            (y) supplies, services, advises or consults
            with a person, trade or business involved in
            the research and development, licensing,
            production,   distribution,    or   sale   of
            preimplantation    genetic   diagnosis    and
            testing that directly competes with the
            Corporation or any of its subsidiary or
            affiliated companies in the same geographic
            markets serviced by them, except that nothing
            in this Contract shall prohibit Employee from
            holding not more than three [sic] (3%) of the

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                  outstanding shares of a publicly traded
                  company whether or not engaged in business
                  activities that compete with the business
                  activities of the Corporation and its
                  subsidiary and affiliated companies.

(Doc. 5-1 ¶¶ 9(a)(i), (iii).)

     The   Employment    Agreement       further    provided   that   these

restrictions “shall not apply to Employee’s actions, efforts or

business   pursuits   with   respect     to   the   Patent   referenced   in

Paragraph 8(b).” (Id. ¶ 9(b).) 2 Paragraph 8(b), in turn, described

the patent as

     the provisional patent application for “Method for In
     Vitro Fertilization (IVF) and Genetic Testing of Human
     Embryos for Chromosome Abnormalities, Single Gene
     Mutations, Segregating genetic Disorders in Families,
     and Mitochondrial Mutations” filed Septembar [sic] 22,
     2006; applicants: William G. Kearns & Richard A Leach;
     Serial No. to be assigned (“Patent”).”

(Id. ¶ 8(b).)

     Beginning around July 2007, Kearns ran LabCorp’s PGD testing

lab, doing the same work he had previously performed for the Shady

Grove Center, including the process for PGD testing described in

his provisional patent application.           (Kearns Decl. ¶ 26.)        His

responsibilities and duties also included sales and marketing of

PGD services, as well as research and development of new genetic

tests for LabCorp.      (Schmalz Decl. ¶ 24.)        Such duties involved


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    The Purchase Agreement contained a similar carve-out from its
restrictive covenants. (See Doc. 22-1 Ex. 1B ¶ 1.2; Doc. 22-1 Ex. 1C
¶ 2.)    LabCorp has only sued, however, to enforce the restrictive
covenants in Kearns’ Employment Agreement.


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Kearns’ meeting with various PGD customers for LabCorp.           (Kearns

Dep. at 109, Doc. 22-2. 3)     Kearns also attended LabCorp meetings

concerning formulation and implementation of sales strategies,

including pricing strategies and analysis of competitive threats.

(Id. ¶ 26; Kearns Dep. at 91–93, Doc. 20-1.)         In this regard, he

was involved in setting the pricing of PGD services for LabCorp.

(Kearns Dep. at 114–17, Doc. 22-2.)      Kearns’ LabCorp team provided

services to between thirty and forty fertility clinics.          (Schmalz

Decl. ¶ 25; Kearns Dep. at 91–93, Doc. 20-1.)

     There are many competitors in the PGD testing industry, and

LabCorp relies on the relationships it develops with customers to

maintain and expand its clientele of fertility clinics.           (Kearns

Dep. at 93, Doc. 20-1; Schmalz Decl. ¶ 7.)         Similarly, LabCorp’s

sales strategies and plans are confidential information shared

only with employees who require the information to perform their

jobs.   (Schmalz Decl. ¶ 8.)       Kearns knew this information and

developed relationships with LabCorp’s customers.        (Id. ¶¶ 54–56.)

     On September 24, 2007, Kearns and Leach filed a permanent

application for a patent based on their PGD microarray testing

process.   (Kearns Decl. ¶ 27.)    For the next several years, during

his tenure at LabCorp, Kearns worked with Leach in an attempt to




3  The parties have separately submitted various portions of Kearns’
deposition transcript. The court will reference the docket number to
show the proper source.

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secure a patent based on this permanent application.           (Id. ¶ 28.)

In 2012, however, the two decided to abandon pursuit of the patent,

determining that the expense was too great to bear.            (Id. ¶ 29.)

In July 2012, the United States Patent and Trademark Office issued

a Notice of Final Rejection of the patent application (Doc. 1-3),

and in March 2013 deemed it abandoned.        (Doc. 1-4.)

     In January 2014, Kearns was invited to breakfast by two of

his supervisors, Michael Davis and Peter Paperhausen.               (Kearns

Decl. ¶¶ 30–31.)      They told him that LabCorp had decided to close

the PGD lab in May 2014 and to contract with a lab in New Jersey

for all PGD services.     (Id. ¶¶ 31, 33.)    The contract lab would be

performing the actual PGD testing, but Kearns would be the primary

contact for LabCorp’s customers and patients and overseer for the

interpretation and reporting of the contract lab’s test results.

(Schmalz Decl. ¶ 28.)      As a result, Kearns would be working from

home.   (Kearns Decl. ¶ 33.)     Kearns was very upset by the decision

and considered resigning.       (Id. ¶¶ 31–32.)        His new supervisor,

Jeffrey Schmalz, asked Kearns to stay with LabCorp to manage the

transition.   (Id. ¶ 32.)     Kearns felt obliged to the fertilization

clinics and their patients to ensure a successful transition.

(Id.)

     LabCorp’s decision left Kearns without a lab to continue his

research   and   to   train   his   medical   school    students.     (Id.)

Therefore, in April 2014, he formed a limited liability company

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called AdvaGenix and a laboratory of the same name, which would

provide a place to continue his research and teaching.                   (Id.)

AdvaGenix is wholly owned by William Kearns and Laura Kearns as

joint tenants with right of survivorship.               (Doc. 5-2 at 14.)

AdvaGenix’s operating agreement states that its business purposes

include    “(i)    provid[ing]    genetic        services   for   in    vitro

fertilization clinics and to do all things related thereto; [and]

(ii) provid[ing] genetic services for any fetus or individual

requiring genetic testing.”      (Id. at 1–2.)

      Kearns told Schmalz that he was forming the lab.                 (Kearns

Decl. ¶ 33.)      He did not tell Schmalz that the lab would serve a

commercial purpose, however.      (Kearns Dep. at 195, Doc. 22-2.)          At

this point, Kearns was not using the lab to undertake commercial

PGD testing of any kind, whether for LabCorp’s clients or anyone

else, nor was he soliciting LabCorp’s clients for work.                (Kearns

Decl. ¶ 34.)       Kearns believed, however, that under the patent

carve-out to his restrictive covenants, he could have immediately

begun competing against LabCorp.         (Id.)

      In May 2014, LabCorp asked Kearns to amend his Employment

Agreement.    (Kearns. Decl. ¶ 35.)      On May 12, 2014, he and LabCorp

executed an amendment which, among other things, changed his title

to   “Technical     Director   and   Business       Development   for     Pre-

Implantation Genetics” and increased his salary $190,000.00, with

bonus opportunities; however, the amendment did not change the

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restrictive covenants. 4     (Id. ¶¶ 36–37; Doc. 5-1.)

     Kearns began managing the transition to the contract lab for

LabCorp, calling and visiting clinics to convince them that they

would receive the same quality of service from the contract lab.

(Kearns Decl. ¶ 35.)        However, the transition was not without

wrinkles.    In June 2014, the contract lab refused to test certain

PGD samples submitted on the grounds that the saline solution in

the LabCorp-provided kits made it difficult to run the necessary

tests.   (Id. ¶ 39.)        Kearns brought the problem to Schmalz’s

attention.    (Id.)    Schmalz asked Kearns what should be done to fix

the problem.    (Id. ¶ 40.)     Kearns told Schmalz that he could run

the PGD testing in his own lab, the one he had told Schmalz about

previously.    (Id.)    Schmalz directed Kearns to run the test in his

own lab, for this case and the twelve problematic cases like it.

(Id.; Kearns Dep. at 197, Doc. 22-2.)        Kearns did so but did not

charge LabCorp for the work.      (Kearns Dep. at 201, Doc. 22-2.)

     During this exchange, Kearns did not explicitly tell Schmalz

that his lab was capable of commercially running PGD testing. But,

to be legally permitted to sign these clinical case reports,

Kearns’ lab had to be certified and licensed for diagnostic work,

which meant that the lab was not purely for research.             (Kearns

Decl. ¶ 40; Kearns Dep. at 197–98, Doc. 22-2.)       Therefore, Schmalz


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  The amended Employment Agreement will nevertheless be referred to as
the Employment Agreement.

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knew that Kearns’ new lab was capable of providing commercial PGD

services.

     Later, in the summer of 2014, several clinics complained to

Kearns about LabCorp’s contract lab, finding it incapable of

undertaking or unwilling to undertake certain cases. (Kearns Decl.

¶¶ 41–42.)   Some of LabCorp’s clients abandoned LabCorp and asked

Kearns to perform the tests in his AdvaGenix lab.            (Id. ¶ 42.)5

Although Kearns may have made some effort to persuade the clinics

to send their cases to LabCorp, he ultimately performed many of

these cases for about ten different clinics throughout the summer

and fall of 2014, for a total of about 100 cases by October 28.

(Id. ¶ 42; Doc. 20-2 at 79–104.) 6

     In October 2014, one of LabCorp’s customers told a LabCorp

employee that Kearns had visited the customer on his own behalf,

not LabCorp’s, and had informed the customer that Kearns was

forming his own lab for PGD testing and would soon be resigning

from LabCorp.    (Schmalz Decl. ¶ 29; Kearns Dep. at 146–48, Doc.

20-1.) 7 LabCorp commenced an investigation and learned that Kearns

had developed a new business entity called AdvaGenix.            (Schmalz


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   It is unclear how the clients were aware that Kearns was operating
his AdvaGenix lab.
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  Currently, LabCorp represents that it has addressed the problems that
arose during the transition to the contract lab.       (Doc. 25 (Supp.
Rotthoff Decl.) ¶¶ 3–9.)
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   It is unclear how LabCorp learned this information, or who it was at
LabCorp that learned it.

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Decl. ¶¶ 31–33.)

        Schmalz invited Kearns to a meeting on October 28, 2014, that

Schmalz said would concern budgeting and planning.             (Kearns Decl.

¶ 45; Schmalz Decl. ¶ 34.)        In fact, the meeting was arranged to

discuss Kearns’ formation of AdvaGenix.               (Kearns Decl. ¶ 45;

Schmalz Decl. ¶ 35.)         At the meeting, Schmalz accused Kearns of

hiding his company from LabCorp.             (Kearns Decl. ¶ 45.)      Kearns

told Schmalz that he already told him about the lab twice before.

(Id.)       Schmalz   told    Kearns   that    the   restrictive    covenants

prohibited Kearns from running this lab.              (Id. ¶ 47.)      Kearns

claimed that he was permitted to do so under the Employment

Agreement’s     patent   carve-out.         (Id.)    Kearns   was   placed   on

administrative leave and was required to turn over his LabCorp

cell phone and laptop.          (Id.; Schmalz Decl. ¶ 39.)            Shortly

thereafter, on November 17, 2014, LabCorp fired him for cause.

(Kearns Decl. ¶ 49; Schmalz Decl. ¶ 43.)

        On the day of his termination, Kearns sent an email to various

recipients describing services that his AdvaGenix lab would be

offering — services which LabCorp also offers.                (Schmalz Decl.

¶¶ 44–45.) After Kearns was terminated, one of LabCorp’s customers

sent LabCorp an email explaining that it had “elected to continue

[its] care with Dr. Kearns at his new practice.”              (Id. ¶ 52; Doc.

5-6.)

        By the time of his October 28 meeting, Kearns had performed

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PGD testing on around 100 cases for customers who had been clients

of LabCorp but had left LabCorp during the transition because the

contract lab allegedly could not or would not run some of their

cases.     (Kearns Dep. at 138, 179, Doc. 20-1; see Doc. 20-2 at 79–

104.)      For the period from July 5, 2014, to December 20, 2014,

Kearns ran PGD testing on 180 cases.            (See Doc. 20-2 at 79–104.)

      B.     Procedural History

      On December 9, 2014, LabCorp filed the present action against

Kearns,     claiming     breach   of   the   restrictive    covenants      in   his

Employment Agreement and breach of his fiduciary duties to LabCorp.

(Doc. 1)      LabCorp moved for a temporary restraining order and

expedited discovery against Kearns.            (Doc. 2.)        Kearns appeared,

through counsel, and on December 17, 2014, consented to the entry

of   an    order   for    expedited    discovery   and     to    be    temporarily

restrained from soliciting LabCorp customers or competing until

January 12, 2015, at which time the court would hold a hearing on

whether a preliminary injunction should be entered.                   (Doc. 17.)

      Kearns has since filed an answer, denying LabCorp’s claims,

and asserted counterclaims for LabCorp’s breach of the Employment

Agreement and violation of the North Carolina Wage and Hour Act.,

N.C. Gen. Stat. § 95.25.1, et seq.            (Doc. 23.)

      LabCorp’s motion for preliminary injunction is fully briefed

and supported by affidavits and excerpts from Kearns’ deposition.

Following the court’s January 12, 2015 hearing, the motion is ready

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for decision.

II.    ANALYSIS

       A.    Standard of Review

       When a party moves for preliminary injunctive relief, the

burden of showing that such “extraordinary” relief should issue

rests with the movant.       Winter v. Natural Res. Def. Council, Inc.,

555 U.S. 7, 20, 24 (2008).       Movants must make a “clear showing” of

four pre-requisites:         “(1) they are likely to succeed on the

merits, (2) they are likely to suffer irreparable harm, (3) the

balance of hardships tips in their favor, and (4) the injunction

is in the public interest.”         Pashby v. Delia, 709 F.3d 307, 320

(4th Cir. 2013) (citing Winters, 555 U.S. at 20).           The court must

“separately consider each Winter factor” to determine whether each

has been “satisfied as articulated.”           Id. at 320–21.     A party’s

failure on any element precludes injunctive relief from issuing.

See Cantley v. W. Va. Reg’l Jail & Corr. Facility Auth., 771 F.3d

201, 207 (4th Cir. 2014).

       B.    Likelihood of Success on the Merits

       LabCorp must show that it will likely succeed on its claim

for breach of the restrictive covenants.         This requirement “is far

stricter” than just requiring LabCorp to “demonstrate only a grave

or serious question for litigation.”         Real Truth About Obama, Inc.

v. FEC, 575 F.3d 342, 347 (4th Cir. 2009), cert. granted & judgment

vacated on other grounds, 559 U.S. 1089 (2010), and adhered to in

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part, Real Truth About Obama, Inc. v. FEC, 607 F.3d 355 (4th Cir.

2010).      But LabCorp need not show a “certainty” of success.

Pashby, 709 F.3d at 321 (citing 11A Charles Alan Wright et al.,

Federal Practice and Procedure § 2948.3 (2d ed. 1995)).

     In its complaint, LabCorp alleges that Kearns has breached

two restrictive covenants in his Employment Agreement: a non-

solicitation covenant and a non-competition covenant.                    (Compl.

¶ 56.)     Kearns argues that neither is enforceable and that, even

if it is, he is not in breach due to the so-called “patent carve-

out” exclusion.         Because this carve-out, if valid, would shield

him from the restrictive covenants altogether, the court turns to

it first.

            1.    Applicability of the Patent Carve-Out

     During the acquisition of the Shady Grove Center, LabCorp and

Kearns negotiated a carve-out to the restrictive covenants in

Kearns’    Employment      Agreement.        The   arrangement     had   several

aspects.

     First, while the parties agreed generally that LabCorp would

have a right to Kearns’ inventions arising out of his company work

(Doc. 5-1 ¶ 8(a)), Kearns’ pending provisional patent application

was exempted (id. ¶ 8(b)).       Second, in delineating Kearns’ duties,

the parties agreed that Kearns may “engage in actions, efforts or

business pursuits with respect to” the patent, so long as such

actions     did   not     “interfere”    with      his   general   duties   and

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responsibilities to the company.         (Id. ¶ 1(b).)   Finally, in what

the parties term the “carve-out” for the current motion, they

agreed explicitly that the restrictive covenants “shall not apply

to [Kearns’] actions, efforts or business pursuits with respect

to” the provisional patent application.         (Id. ¶ 9(b).)

       LabCorp argues that the patent carve-out has no application

here because Kearns abandoned pursuit of the patent.         (Doc. 19 at

16.)    Kearns argues for a broader interpretation of the clause.

Specifically, he argues that what has been carved out is his use

of the PGD testing process described in the patent application

itself, regardless of whether he actually received a patent for

his invention.    (Doc. 22 at 7.)

       Kearns’ construction is unpersuasive.       The patent carve-out

excludes Kearns’ “actions, efforts [and] business pursuits with

respect to the patent”; indeed, as LabCorp conceded at the hearing,

had the patent been acquired, the carve-out would have exempted

licensing the technology, even to LabCorp.           But no patent was

acquired, and Kearns concedes that he has not pursued it during

the times relevant to the motion.          Under the plain terms of the

carve-out, therefore, Kearns’ conduct in conducting PGD testing

services   does   not   qualify.    Moreover,    Kearns’   interpretation

conflicts with his essential duties under the Employment Agreement

and cannot reflect what the parties reasonably intended when they

executed it.      As director of preimplantation genetic services,

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Kearns was responsible for “operating, managing, and overseeing

laboratory services for [PGD] testing”; “marketing and developing

business opportunities for such services”; and “researching and

developing assays for [PGD] testing.”          (Doc. 5-1 ¶ 1(a).)        If the

process Kearns was already using and developing when he joined

LabCorp was itself exempt from the restrictive covenants, as Kearns

contends,   then   LabCorp    would   have    employed,   in     a    management

position no less, a person already free to compete against it.

Kearns’ interpretation would essentially render the restrictive

covenants meaningless ab initio. 8         This court should not adopt an

interpretation     of   the   Employment     Agreement    that       effectively

eliminates material provisions.            See Marcoin, Inc. v. McDaniel,

320 S.E.2d 892, 897 (N.C. Ct. App. 1984) (rejecting proposed

construction that would “render meaningless” a material provision

of a contract absent reason why such a “strained construction [was]

more reflective of the parties’ intent than a more reasonable

construction guided by traditional principles”).

     Kearns’ primary argument — that the provision carves out the

process described in the patent — finds no support in the language

of the Employment Agreement.           The carve-out exempted Kearns’


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   Kearns freely admits that his interpretation would have this effect.
In his declaration, he admits, “Although, under my patent carve-out, I
could immediately have devoted my AdvaGenix lab to competing against
LabCorp in undertaking PGD, it frankly did not occur to me to do so, as
I would simply have been competing with myself (doing precisely the same
work wearing two different hats).” (Kearns Decl. ¶ 34.)


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actions “with respect to the Patent referenced in Paragraph 8(b).”

(Doc. 5-1 ¶ 9(b).)       In paragraph 8(b), the term “Patent” is defined

not as Kearns’ process for PGD testing, nor as a process that he

hoped to develop in the future.              Rather, the term “Patent” was

defined    in     more   concrete   terms      as   “the   provisional   patent

application” for Kearns’ PGD process.               The parties were free to

define “Patent” in reference to the process itself.              That they did

not do so is evidence that they did not intend to do so. 9

     Kearns       developed   a   competing     business    while   working    at

LabCorp, servicing only his former LabCorp customers, and he

continued operating the business once he departed. Because Kearns’

only argument against breach relies on the patent carve-out, the

court finds that LabCorp has made a clear showing of breach.                  The

court     turns    now   to   whether    the    restrictive    covenants      are

enforceable.

            2.      Enforceability of Paragraph 9(a)(i)

     Kearns argues that both covenants, paragraphs 9(a)(i) and

9(a)(iii), are unreasonably broad and unenforceable.

     Both parties refer to the covenant of paragraph 9(a)(i) as a

non-solicitation agreement.             As noted, the paragraph provides

that, during the term of the Employment Agreement and for one year


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   Although Kearns has not argued that the carve-out should be construed
against LabCorp, it would be inappropriate to do so in this case. The
provision is not ambiguous and, even if it were, Kearns conceded at the
hearing and in his declaration that he specifically negotiated the
clause. (See Kearns Decl. ¶¶ 18–22.)

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after its termination or expiration, Kearns would not, without

LabCorp’s prior written consent,

     directly or indirectly through a subordinate, co-worker,
     peer, or any other person or entity contact, solicit or
     communicate with a customer or potential customer of
     Corporation or its subsidiary or affiliated companies
     with whom Employee has had contact while employed at
     Corporation or its subsidiary and affiliated companies
     for the purpose of (x) offering, selling, licensing or
     providing the same or substantially similar assays,
     commercial medical testing or anatomical pathology
     services offered and/or provided to such customer or
     potential customer by the Corporation or its subsidiary
     and affiliated companies or (y) influencing said
     customer’s or potential customer’s decision on whether
     to purchase or use such assays, commercial medical
     testing or anatomical pathology services offered by the
     Corporation or its subsidiary and affiliated companies
     . . . .

(Doc. 5-1 ¶ 9(a)(i).)

     The covenant prohibits Kearns from contacting, soliciting, or

communicating with LabCorp’s customers and potential customers

with whom he had contact while working for the company.                  The

parties    agree   that   the    covenant   not   only    prohibits   active

solicitation, but also prohibits Kearns from passively accepting

work from his prior contacts made at LabCorp.            (Doc. 22 at 18–19;

Doc. 24 at 6–7.)     They argue that this issue has not been addressed

by any North Carolina court, and both rely on law from other

jurisdictions.

     Contrary to the suggestion of the parties, the enforceability

of this provision can be determined by North Carolina law.            North

Carolina    courts    evaluate     non-competes    and     non-solicitation

                                     18



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agreements through the same lens.       See, e.g., United Labs., Inc.

v. Kuykendall, 370 S.E.2d 375, 379–80 (N.C. 1988) (explaining the

law for restrictive covenants, including both non-competes and

non-solicitation agreements).     So, although the parties label this

provision as a non-solicitation covenant, where the provision

purports to bar passive acceptance of work from a previous client,

it constitutes a customer-contact non-compete because it has the

same effect of barring the former employee from competing for his

former clients.

     North   Carolina   courts   have   long   stated   that   restrictive

covenants between an employer and an employee are not viewed

favorably.   See Kadis v. Britt, 29 S.E.2d 543, 546 (N.C. 1944);

VisionAIR, Inc. v. James, 606 S.E.2d 359, 362 (N.C. Ct. App. 2004).

Because they restrain the ability of employees to secure gainful

employment and of employers to find qualified workers, restrictive

covenants “must be no wider in scope than is necessary to protect

the business of the employer.”          VisionAIR, 606 S.E.2d at 362

(quoting Manpower of Guilford County, Inc. v. Hedgecock, 257 S.E.2d

109, 114 (N.C. Ct. App. 1979)). When a non-compete is unreasonably

broad, courts are “severely” limited in their ability to blue-

pencil offensive provisions.     Hartman v. W.H. Odell & Associates,

Inc., 450 S.E.2d 912, 920 (N.C. Ct. App. 1994).         A court “at most

may choose not to enforce a distinctly separable part of a covenant

in order to render the provision reasonable.       It may not otherwise

                                   19



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revise or rewrite the covenant.”                Id.

       The burden of showing enforceability rests with LabCorp, as

the party seeking to restrain trade.                  Hartman, 450 S.E.2d at 916.

To be enforceable under North Carolina law, a restrictive covenant

must    be   (1)    in   writing;    (2)     made     as   part    of    an     employment

agreement; (3) based on valuable consideration; (4) reasonable as

to    both   time    and   territory;      and       (5)   designed      to     protect   a

legitimate business interest of the employer.                      Young v. Mastrom,

Inc., 392 S.E.2d 446, 448 (N.C. Ct. App. 1990) (citing A.E.P.

Industries v. McClure, 302 S.E.2d 754, 760–61 (N.C. 1983)).                             The

covenants’     restrictions         cannot      be    “wider      in    scope    than     is

necessary” to protect an employer’s legitimate business interests.

Asheboro Paper & Packaging, Inc. v. Dickinson, 599 F. Supp. 2d

664, 671 (M.D.N.C. 2009) (quoting VisionAIR, 606 S.E.2d at 362).

                    a.     Legitimate Business Interests

       To determine the reasonableness of the restrictions, the

court must first identify what business interests LabCorp can

legitimately protect. LabCorp has identified two types of business

interests that both restrictive covenants are designed to protect:

(1)    customer     relationships      and      (2)    confidential,          proprietary

pricing information.         (Doc. 19 at 15.)

       The North Carolina Supreme Court has outlined the contours of

an employer’s legitimate interests in its goodwill and customer

relationships:

                                           20



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       [P]rotection of customer relationships and good will
       against misappropriation by departing employees is well
       recognized as a legitimate protectable interest of the
       employer.   The greater the employee’s opportunity to
       engage in personal contact with the employer’s customer,
       the greater the need for the employer to protect these
       customer relationships.    This theory, which is often
       referred to as the “customer contact” theory, is most
       applicable where the employee is the sole or primary
       contact between the customer and the employer.

Kuykendall, 370 S.E.2d at 381 (citations omitted).                  Employers can

also have legitimate business interests in other confidential or

proprietary information that their employees learn and use during

their time of employment.         See A.E.P. Indus., Inc. v. McClure, 302

S.E.2d 754, 763 (N.C. 1983).

       At this stage, the court finds that LabCorp has demonstrated

legitimate business interests in protecting both its customer

goodwill,       confidential    pricing        information,   and    confidential

pricing strategy.

                    b.   Overbreadth of Paragraph 9(a)(i)

       Kearns argues that paragraph 9(a)(i) is wider than necessary

to    protect    LabCorp’s     customer    relationships      for   two   reasons.

First, he argues that the phrase “customer or potential customer”

is too vague to be enforceable.            Kearns cites to three cases from

the     North     Carolina     Court      of     Appeals   for      support:   MJM

Investigations, Inc. v. Sjostedt, No. COA09-596, 2010 WL 2814531

(N.C. Ct. App. July 20, 2010), Hejl v. Hood, Hargett & Assocs.,

Inc., 674 S.E.2d 425 (N.C. Ct. App. 2009), and Farr Assocs., Inc.


                                          21



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v. Baskin, 530 S.E.2d 878 (N.C. Ct. App. 2000).

      The theme common to all three cases, however, is absent here.

Each case found the covenant unreasonably broad because it was not

limited to customer contacts made by the employee himself during

his period of employment.         See MJM Investigations, 2010 WL 2814531

at *4 (“The language of the agreement clearly extends the non-

solicitation     clause     to    cover    ‘clients’     and,     in    particular,

‘prospect      clients’    with     which       Defendants      had     never      made

contact.”); Hejl, 674 S.E.2d at 307 (“But in the case before us,

where    the   Agreement    reaches       not   only   clients,       but    potential

clients, and extends to areas where Plaintiff had no connections

or    personal     knowledge       of      customers,     the         Agreement      is

unreasonable.”); Farr Assocs., 530 S.E.2d at 882 (“The covenant in

question prevents Mr. Baskin from working for all of Farr’s current

or recent clients, regardless of where the client is located,

whether he had any contact with them, or whether he even knew about

them.”).

      In North Carolina, covenants prohibiting competition for a

former    employer’s      customers     are     only   enforceable          when   they

prohibit the employee from contacting customers with whom the

employee actually had contact during his former employment.                        Farr

Assocs., 530 S.E.2d at 883 (“[A] client-based limitation cannot

extend beyond contacts made during the period of the employee’s

employment.”).     Paragraph 9(a)(i) explicitly limits the covenant

                                          22



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to customers “with whom [Kearns] has had contact while employed

at” LabCorp. Therefore, the court finds that the covenant properly

limits its use of the term “customer.”

       Second,      Kearns   asserts      that   this    covenant    is    overbroad

because it prohibits him from providing competing services to the

subsidiaries and affiliates of the customers with whom he had

actual contact during his employment.              (Doc. 22 at 18–19.)           Kearns

cites    no    authority     for   this    proposition,      whether      from    North

Carolina or elsewhere.         Nor does he make any meaningful attempt to

show how this issue should render the covenant unenforceable.                       “It

is not the role or the responsibility of the Court to undertake

the    legal    research     needed   to   support      or   rebut   a   perfunctory

argument.”      Hayes v. Self-Help Credit Union, No. 1:13-CV-880, 2014

WL 4198412, at *2 (M.D.N.C. Aug. 22, 2014).                    Kearns’ conclusory

argument, without more, cannot overcome LabCorp’s otherwise clear

showing on this issue.

       For these reasons, the court finds that LabCorp has made a

clear     showing,     at     this    time,      that    paragraph       9(a)(i)    is

enforceable. 10

               3.    Enforceability of Paragraph 9(a)(iii)

       Kearns also argues that paragraph 9(a)(iii), a more typical




10 Kearns has not questioned the time restriction of this covenant, so
the court does not address it here. Cf. Farr Assocs., 530 S.E.2d at 881
(addressing application of a so-called “look-back period”).

                                           23



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non-compete provision, is unreasonably broad and unenforceable.

As noted, it provides that during the Employment Agreement and for

one year after its termination or expiration, Kearns would not,

without LabCorp’s prior written consent,

     directly or indirectly own, invest in, consult for, be
     employed by or otherwise engaged by any person, trade or
     business either (x) involved in the research and
     development, licensing, production, distribution, or
     sale of preimplantation genetic diagnosis and testing
     that directly competes with the Corporation or any of
     its subsidiary and affiliated companies in the same
     geographic markets serviced by them or (y) supplies,
     services, advises or consults with a person, trade or
     business involved in the research and development,
     licensing,   production,   distribution,   or  sale   of
     preimplantation genetic diagnosis and testing that
     directly competes with the Corporation or any of its
     subsidiary   or  affiliated   companies   in  the   same
     geographic markets serviced by them, except that nothing
     in this Contract shall prohibit Employee from holding
     not more than three [sic] (3%) of the outstanding shares
     of a publicly traded company whether or not engaged in
     business activities that compete with the business
     activities of the Corporation and its subsidiary and
     affiliated companies.

(Doc.    5-1   ¶    9(iii).)    Kearns     argues   that   LabCorp     has    not

demonstrated a legitimate interest in prohibiting his ownership of

or investment in a direct competitor or supplier of a direct

competitor.        (Doc. 22 at 14–15.)     The court agrees.

        The   general   rule   on   indirect   ownership    is   set    out   in

VisionAIR, Inc. v. James, 606 S.E.2d 359 (N.C. Ct. App. 2004).                 In

that case, the non-compete provided that, after termination, the

former employee could not “own, manage, be employed by or otherwise

participate in, directly or indirectly, any business similar to

                                      24



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Employer’s . . . within the Southeast” for two years.          Id. at 362.

The court held that prohibiting indirect ownership of a similar

firm would also prevent the former employee from “even . . .

holding interest in a mutual fund invested in part in a firm

engaged in business similar to [the former employer’s].            Such vast

restrictions on [the former employee] cannot be enforced.”            Id. at

362–63. The rule from VisionAIR has been applied by numerous other

courts, both state and federal.           See, e.g., Horner Int’l Co. v.

McKoy, 754 S.E.2d 852, 857 (N.C. Ct. App. 2014) (“Finally, the

[non-compete agreement] purports to bar Defendant from having even

an indirect financial interest in such a business, a condition

specifically rejected by the Court in VisionAIR . . . .”); Superior

Performers, Inc. v. Meaike, No. 1:13CV1149, 2014 WL 1412434, at

*10 (M.D.N.C. Apr. 11, 2014); CNC/Access, Inc. v. Scruggs, 2006

NCBC 20 ¶ 51 (N.C. Super. Ct. Nov. 15, 2006) (“By prohibiting

Scruggs from even indirect ownership of a competing company, the

covenant goes farther than is necessary to prevent Scruggs from

competing for the customers of CNC/Access.         It therefore cannot be

seen    as   protecting   a    legitimate    business   interest    of   the

employer.”).

       Paragraph   9(a)(iii)    extends     to   indirect   ownership    and

investment in both (1) businesses involved in PGD testing that

directly compete with LabCorp, and (2) companies that supply,

service, advise, or consult with businesses involved with PGD

                                     25



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testing that directly compete with LabCorp.              LabCorp has not

justified such broad restrictions here.

     The first provision would prohibit Kearns from investing in

a startup trying to develop new PGD technology for commercial

exploitation.    Likewise, under the second provision, Kearns could

not even invest in a paper company that supplies paper to a PGD

testing laboratory.      This covenant sweeps too broadly and, at this

stage, LabCorp has not clearly justified this apparent overreach.

     This covenant does contain an exception to the restraint on

investment:     “[N]othing in this Contract shall prohibit [Kearns]

from holding not more than three [sic] (3%) of the outstanding

shares of a publicly traded company whether or not engaged in

business activities that compete with the business activities of

the Corporation and its subsidiary and affiliated companies.”

(Doc. 5-1 ¶ 9(a)(iii).)      LabCorp argued at the hearing that this

exception was meant to address the concern raised in VisionAIR.

But this exception is not wide enough.             LabCorp has offered no

legitimate    business    that   can   only   be   protected   by   limiting

investment to publicly traded companies or to only three percent

of such companies.        This restriction could also bar ownership

through a mutual fund or various other mechanisms of passive

investment.

     In light of these deficiencies, the court need not examine

the provision further and holds that LabCorp has not made a clear

                                       26



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showing at this point that paragraph 9(a)(iii) is enforceable. 11

            4.    Reformation

       LabCorp   argues    that,   should   the   court     find    any   of   the

restrictive covenants unreasonably broad and unenforceable, it

should reform them to meet the parameters of the law.

       Under North Carolina law, courts are narrowly limited in their

power to reform overbroad restrictive covenants in employment

agreements:      “If   a   contract   by    an   employee   in     restraint    of

competition is too broad to be a reasonable protection to the

employer’s business it will not be enforced.              The courts will not

rewrite a contract if it is too broad but will simply not enforce

it.”    Whittaker Gen. Med. Corp. v. Daniel, 379 S.E.2d 824, 828

(N.C. 1989); see also Noe v. McDevitt, 45 S.E.2d 121, 123 (N.C.

1947) (“The Court cannot by splitting up the territory make a new

contract for the parties — it must stand or fall integrally.”).

The courts are authorized, “at most,” only “to enforce a distinctly

separable part of a covenant in order to render the provision


11
   Kearns also argues that this covenant is unenforceable for two other
reasons. First, he contends that, because paragraph 9(a)(iii) prohibits
him from working for a direct competitor in a capacity unrelated to his
capacity at LabCorp, it is overbroad. The only exception, he argues,
is found in Precision Walls, Inc. v. Servie, 568 S.E.2d 267, 273 (N.C.
Ct. App. 2002) (“Thus, plaintiff’s legitimate business interest allows
the covenant not to compete to prohibit employment of any kind by
defendant with a direct competitor.”), which he contends has been limited
to its facts by other decisions.       Second, Kearns argues that the
geographic scope of paragraph 9(a)(iii) is unreasonably broad. Because
the court has found that LabCorp has failed to demonstrate the validity
of the covenant on another ground, the court need not reach these
alternative arguments.

                                      27



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reasonable.    It may not otherwise revise or rewrite the covenant.”

Hartman, 450 S.E.2d at 920.

     LabCorp argues that this court has special authority to blue-

pencil paragraph 9(a)(iii) because the parties agreed in the

Employment    Agreement   that   a   reviewing   court    could    reform   an

unreasonable covenant to make it reasonable.           (Doc. 24 at 9–10.)

LabCorp is correct that the parties did so agree:

     [I]f any provision contained in this Contract shall be
     adjudicated to be invalid or unenforceable because such
     provision is held to be excessively broad as to duration,
     geographic scope, activity or subject, such provision
     shall be deemed amended by limiting and reducing it so
     as to be valid and enforceable to the maximum extent
     compatible   with    the   applicable   laws    of   such
     jurisdiction, such amendment only to apply with respect
     to the operation of such provision in the applicable
     jurisdiction in which the adjudication is made.

(Doc. 5-1 ¶ 14(d).)

     No   North   Carolina   court    has   directly     addressed    whether

parties to an employment agreement can empower a court to modify

a restrictive covenant that it could not modify absent such a

provision.    For support, LabCorp cites a recent North Carolina

Court of Appeals case, Beverage Systems of the Carolinas, LLC v.

Associated Beverage Repair, LLC, 762 S.E.2d 316 (N.C. Ct. App.

2014), notice of appeal filed, No. 316A14 (N.C. Sept. 5, 2014).

In that case, the plaintiff sold his business to the defendants.

Id. at 318–19.      As part of the asset purchase agreement, the

plaintiff-seller agreed to a restrictive covenant.                Id. at 319.


                                     28



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The parties agreed that, should a court find the restrictive

covenants unreasonably broad and unenforceable, the court would be

allowed to reform the covenants “to cover the maximum period, scope

and area permitted by law.”      Id.

     The trial court found the covenants unenforceable and refused

to modify them.       Id.    The Court of Appeals agreed that the

restrictive   covenants     in   the    asset   purchase   agreement   were

unreasonably broad.    Id. at 321.      However, the court held that the

trial court erred by refusing to reform them to the maximum,

reasonable extent permitted under law.          Id. at 321–22.   The court

held that, because the parties’ asset purchase agreement expressly

authorized reformation, “the trial court’s ability to revise the

non-compete is not subject to the restrictions of the ‘blue pencil

doctrine’ which prohibits a trial court from revising unreasonable

provisions in non-compete agreements.”          Id. at 321.

     The court noted that the issue as it saw it — “the right of

a trial court to revise the provisions of a non-compete based on

the express language of the contract for the sale of a business”

— was one of first impression.         Id. at 322 (emphasis added).      The

court limited its holding to that context:

     Given the fact that non-competes drafted based on the
     sale of a business are given more leniency than those
     drafted pursuant to an employment contract since the
     parties are in relatively equal bargaining positions,
     the trial court should not have held the entire non-
     compete unenforceable nor should the trial court’s power
     to revise and enforce reasonable provisions of the non-

                                       29



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     compete    be   limited   under    the   “blue    pencil
     doctrine.” . . . In contrast, pursuant to the sale of
     a business, these parties, who were at arms-length with
     equal bargaining power, agreed to allow the trial court
     to revise the non-compete to make it reasonable, and the
     trial court should have done so.

Id. at 321–22 (emphasis added).         All the policy justifications

offered for the holding were also limited to the context of the

sale of a business.    Id. at 322–23.

     As a federal court sitting in diversity and applying North

Carolina law, this court is obliged to apply the jurisprudence of

North   Carolina’s   highest   court,   the   Supreme   Court   of    North

Carolina.   See Private Mortgage Inv. Servs., Inc. v. Hotel & Club

Assocs., Inc., 296 F.3d 308, 312 (4th Cir. 2002).       When that court

has not spoken directly on an issue, this court must “predict how

that court would rule if presented with the issue.”             Id.      The

decisions of the North Carolina Court of Appeals are the “next

best indicia” of what North Carolina’s law is, though its decisions

“may be disregarded if the federal court is convinced by other

persuasive data that the highest court of the state would decide

otherwise.” Id. (quoting Liberty Mut. Ins. Co. v. Triangle Indus.,

Inc., 957 F.2d 1153, 1156 (4th Cir. 1992)).

     At this stage, it is not clear that North Carolina courts

would extend Beverage Systems to the employment context.                 The

court’s holding appears limited to the sale of a business.               In

contrast, the North Carolina Supreme Court has long emphasized


                                   30



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that “[c]ontracts restraining employment are looked upon with

disfavor.”        Kadis, 29 S.E.2d at 546; accord Farr Assocs., 530

S.E.2d at 881.          Historically, North Carolina’s blue-pencil rule

has been characterized as both “strict” and “severe.”                      Beverage

Sys., 762 S.E.2d at 321; Hartman, 450 S.E.2d at 920.

      In sum, even assuming that the North Carolina Supreme Court

would accept the rule from Beverage Systems, LabCorp has not made

a clear showing that North Carolina’s appellate courts would extend

the holding to employment agreements.                For this reason, the court

will not attempt to reform paragraph 9(a)(iii), but will simply

not enforce it. 12

      C.     Irreparable Harm

      Having shown a likelihood of success on the merits concerning

the breach and enforceability of paragraph 9(a)(i), LabCorp must

also clearly show that it will suffer irreparable harm without

preliminary injunctive relief.              Irreparable harm is suffered “when

monetary damages are difficult to ascertain or are inadequate.”

Multi-Channel      TV    Cable   Co.    v.       Charlottesville   Quality    Cable

Operating Co., 22 F.3d 546, 551–52 (4th Cir. 1994).                  And when the

failure to grant preliminary relief creates a permanent loss of

customers    to    a    competitor     or    the    loss   of   goodwill   (or     the

likelihood    of    such    losses),    the       irreparable    injury    prong    is


12
   Although this case involved the sale of a business, LabCorp has not
sought to enforce the restrictive covenants in the Purchase Agreement.

                                            31



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satisfied.     See id. at 552; Signature Flight Support Corp. v.

Landow Aviation Ltd. P’ship, 442 F. App’x 776, 785 (4th Cir.

2011) 13.   In this case, LabCorp has made a clear showing that it

has already lost customers to Kearns’ new AdvaGenix lab, customers

that may never return.

      Kearns argues these customers have been lost because of

LabCorp’s transition to using the contract lab and that there is

no irreparable harm where an employer’s “loss of customers and/or

goodwill is just as likely attributable to [the employer’s] own

strategic     business     decisions        as    [the    former   employee’s]

competitive    conduct.”     (Doc.     22    at   19–20   (quoting   Southtech

Orthopedics, Inc. v. Dingus, 428 F. Supp. 2d 410, 418 (E.D.N.C.

2006)).)    This argument is unpersuasive.

      At this stage, LabCorp has made a clear showing that, without

preliminary injunctive relief, it will likely continue to lose

customers through Kearns.      The record demonstrates that Kearns has

contributed to LabCorp’s loss of customers by not informing LabCorp

of the alleged customer complaints and providing it an opportunity

to remedy any concerns.       LabCorp has also provided evidence that

it (through its contract lab) has corrected the problems that are

complained of.     (Doc. 25-1 ¶¶ 4-10.)             And although LabCorp no



13 Unpublished opinions of the Fourth Circuit are not precedential but
are cited for the weight they generate by the persuasiveness of their
reasoning. See Collins v. Pond Creek Mining Co., 468 F.3d 213, 219 (4th
Cir. 2006).

                                       32



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longer performs the PGD testing in-house, it still has legitimate

interests in its customers serviced by the contract lab because

LabCorp aims to maintain these customer relationships in order to

interpret the lab results for them and to sell these customers

other related services that LabCorp provides in-house.

       Therefore, the court finds that LabCorp has made a clear

showing of irreparable harm absent a preliminary injunction.

       D.    Balance of Hardships

       In this case, the relative balance of hardships between the

parties clearly favors LabCorp.            Kearns is being enjoined from

doing that which he promised not to do.         Kuykendall, 370 S.E.2d at

380.    There has been no showing that he will not be able to seek

gainful     employment   if    paragraph    9(a)(i)   of   the   Employment

Agreement is enforced.        Indeed, he enjoys employment as faculty at

Johns Hopkins School of Medicine, which he can continue.              (Doc.

22-1 ¶ 1.)    With enforcement of only paragraph 9(a)(i), Kearns can

compete as long as his customers are not LabCorp’s clients and

prospects with whom he dealt personally.         Moreover, as counsel for

LabCorp conceded at the hearing, LabCorp does not service customers

in the western half of the United States, leaving many prospective

purchasers unaffected by this preliminary injunction.

       Kearns argues that the balance of hardships favors him because

the only clients LabCorp has lost are those for whom its contract

lab would not or could not do the required testing.          Enforcing the

                                      33



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covenants, Kearns argues, would not restore any lost client and

may leave fertility patients without the best possible care. (Doc.

22 at 20.)      To the extent he argues causation based on LabCorp’s

inability to perform, he overlooks his failure to have brought the

issue to LabCorp’s attention to permit it to address the situation

— problems LabCorp now says have been fixed.                To the extent he

argues    the   public   interest   is    better   served    with   him   as   a

competitor, Kearns misunderstands this element of the analysis.

The balance of hardships is weighed as between the parties to this

case.     The public interest is a separate analysis.          See infra.

     The court finds that LabCorp has made a clear showing that

the balance of hardships tips in its favor.

     E.      Public Interest

     Finally, LabCorp must show that a preliminary injunction is

in the public interest.        Ordinarily, as Kearns concedes (Doc. 22

at 21), the enforcement of valid restrictive covenants is in the

public interest.     Kuykendall, 370 S.E.2d at 380.           Kearns argues,

however, that the public interest would be better served in this

case by denying the preliminary injunction because of the public’s

“vital interest in quality and efficient health care.”               (Doc. 21

at 22 (quoting Southtech Orthopedics, Inc. v. Dingus, 428 F. Supp.

2d 410, 421 (E.D.N.C. 2006)).)

     While Kearns surely identifies a legitimate interest, he has

made no showing that there is a shortage of providers of this type

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of genetic testing or that enforcement of the covenants he agreed

to will deny anyone quality and efficient health care.                           In fact,

Kearns    admits       that,     if    he   is    restrained      from   providing     PGD

services, numerous other competent laboratories remain in the

marketplace       to    do     so.     (Kearns      Dep.   at    265–66,      Doc.   22-2.)

Therefore, the court finds that the public interest is served by

enforcing paragraph 9(a)(i) of the Employment Agreement.

III. Security

       Under Rule 65(c) of the Federal Rules of Civil Procedure, a

court may issue a preliminary injunction “only if the movant gives

security in an amount that the court considers proper to pay the

costs and damages sustained by any party found to have been

wrongfully enjoined or restrained.”

       The parties did not address the issue of an adequate bond in

their briefing, and thus the court raised the issue at the hearing.

Counsel for LabCorp contended that an appropriate bond would be

Kearns’ annual $190,000 salary at LabCorp, pro-rated for the time

remaining on his restrictive covenants, which “expire” on November

17,    2015   —    a    total    of    “around      $150,000.”         This    suggestion

misunderstands Rule 65(c) because it does not represent the injury

Kearns     would       incur    were    he       found   to     have   been    wrongfully

restrained.       A proper bond must take into account the loss Kearns

would suffer from not being able to compete for his former LabCorp

customers.

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      Kearns’ counsel argued that his client charges approximately

$2500 for each PGD procedure and would bring in gross revenue of

about $500,000 to $1,000,000 per year.                 He also contends he has

additional, unspecified fixed and variable costs for equipment,

employee salaries, and rent.               Counsel argued that, taking into

account the gross revenue and costs, a bond should be set around

“a   couple     million.”          However,     this    estimate   contemplated

enforcement of both restrictive covenant paragraphs and is not

limited to the alleged loss from enforcement of paragraph 9(a)(i)

only.

      The court must determine the “proper” amount of a bond based

on the record evidence.           See Pashby, 709 F.3d at 332; Gateway E.

Ry. Co. v. Terminal R.R. Ass’n of St. Louis, 35 F.3d 1134, 1142

(7th Cir. 1994) (finding that the district court must provide an

explanation for its decision to set the bond at the chosen figure

so the reviewing court can determine whether the bond imposed was

“within   the    range    of     options   from   which   one   could   expect   a

reasonable      trial    judge    to   select”    (internal     quotation   marks

omitted); 11A Charles A. Wright, Federal Practice and Procedure

§ 2954 (3d ed. 2013) (“[T]he district court is required to make

factual findings to support its decision for setting a bond at a

particular amount to allow for appropriate appellate review.”).

The bond is effectively “the moving party’s warranty that the law

will uphold the issuance of the injunction.”              Edgar v. MITE Corp.,

                                           36



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457 U.S. 624, 649 (1982) (Stevens, J., concurring).           The burden of

establishing the bond amount rests with the party to be restrained,

who is in the best position to determine the harm it will suffer

from a wrongful restraint.         Philips Electronics N. Am. Corp. v.

Hope, 631 F. Supp. 2d 705, 724 n.14 (M.D.N.C. 2009); Int’l Equity

Investments, Inc. v. Opportunity Equity Partners Ltd., 441 F. Supp.

2d 552, 566 (S.D.N.Y. 2006) (“[T]he burden is on the party seeking

security to establish a rational basis for the amount of the

proposed bond.”), aff’d, 246 F. App’x 73 (2d Cir. 2007).

       In this case, the value to be calculated is the loss to Kearns

reasonably attributable to the enforcement of paragraph 9(a)(i)

for     the   approximately     ten-month    period    remaining    on      his

restrictive covenants.        In the five-month period from July 15,

2014, to December 15, 2014, Kearns (through his limited liability

company AdvaGenix) performed PGD testing on 155 cases, an average

of 31 cases per month.       (See Doc. 20-2 at 79–104.)      Therefore, for

the    approximately    10   months   remaining   on   Kearns’   restrictive

covenant, the court projects that Kearns could have analyzed about

310 cases.      At $2500 per PGD case (see Kearns Dep. at 180, Doc.

22-2), the projected lost gross revenue would be about $775,000.

       Because this figure represents lost revenue and does not take

into account Kearns’ ability to solicit work from customers with

whom he did not have contact during his LabCorp employment, it may

overstate his loss from a wrongful restraint.             Yet, LabCorp has

                                      37



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offered no rational basis for opposing the figure, either in its

briefing or at the hearing on its motion.                  Given this apparent

acquiescence, the court deems $775,000 to be a proper bond amount. 14

However, should either party conclude that a different figure would

be proper, it may move for adjustment of the bond amount while the

preliminary injunction is still in effect.                 See Rathmann Grp. v.

Tanenbaum, 889 F.2d 787, 790 (8th Cir. 1989); 13 Moore’s Federal

Practice - Civil § 65.50 (“A party may move the court to increase

or decrease the amount of security so long as the restraint or

injunction is in effect.”).

IV.    CONCLUSION

       For the reasons stated,

       IT IS THEREFORE ORDERED that Plaintiff LabCorp’s motion for

a preliminary injunction (Docs. 3, 17) be GRANTED in part and

DENIED in part, and that Defendant Kearns be PRELIMINARILY ENJOINED

as follows:

       Through November 16, 2015, Defendant Kearns, his agents,

servants,     employees,    attorneys,      and    those    persons   in   active

concert or participation with him shall not, without the prior

written consent of LabCorp, directly or indirectly through a

subordinate,     co-worker,    peer,   or    any    other    person   or   entity



14  At least one court has noted that an understated bond could cause
irreparable harm on the ground that “the damages for an erroneous
preliminary injunction cannot exceed the amount of the bond.”     Mead
Johnson & Co. v. Abbott Labs., 201 F.3d 883, 888 (7th Cir. 2000).

                                       38



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contact, solicit, or communicate with a customer or potential

customer of LabCorp or its subsidiary or affiliated companies with

whom Kearns had contact while employed at LabCorp or its subsidiary

and affiliated companies for the purpose of either (1) offering,

selling, licensing, or providing the same or substantially similar

assays,    commercial    medical   testing,    or    anatomical   pathology

services offered and/or provided to such customer or potential

customer by LabCorp or its subsidiary and affiliated companies, or

(2) influencing said customer or potential customer’s decision on

whether to purchase or use such assays, commercial medical testing,

or   anatomical    pathology   services    offered    by   LabCorp   or    its

subsidiary and affiliated companies.

      IT IS FURTHER ORDERED that, pursuant to Rule 65(c) of the

Federal Rules of Civil Procedure, this Preliminary Injunction

shall only become effective when Plaintiff LabCorp gives security

to the Clerk of Court in the amount of $775,000.



                                             /s/   Thomas D. Schroeder
                                          United States District Judge

January 30, 2015
5:20 p.m.
Winston-Salem, N.C.




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